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                                        May 9, 2025

Hon. Douglas L. Micko
United States District Court
316 N. Robert Street
Courtroom 6B
St. Paul, MN 55101

        Re:    Vivorte, Inc. v. Gill, No. 24-cv-01040-DWF-DLM
        Parties’ Joint Scheduling Letter

Dear Judge Micko:

Pursuant to the Court’s order, this letter is submitted on behalf of Plaintiff and
Defendant to advise the Court of the parties’ agreement on a proposed schedule moving
forward. The parties propose the following schedule:

            •   July 18, 2025 – Defendant Gill will produce information and documents, if
                any, as ordered by the Court following the July 2, 2025 hearing.

            •   July 28, 2025 – Defendant Gill will appear for deposition.

            •   August 18, 2025 – Dispositive motion deadline

            •   Trial ready date to be set by Court

This joint letter is submitted with the full agreement of Defendant’s counsel and is
served on all counsel on May 9, 2025 via the Court’s ECF system.

                                    Respectfully submitted,

                                    /s/ Land Murphy

                                    Land Murphy
                                    Counsel for Plaintiff
